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                                   STATEMENT OF FACTS

        Your affiant,                         , is a Special Agent assigned to FBI Los Angeles
Division. In my duties as a special agent, I have investigated allegations associated with domestic
terrorism. I have completed training and gained experience in interviewing and interrogation
techniques, arrest procedures, search warrant applications, the execution of searches and seizures,
and various other criminal laws and procedures. Currently, I am tasked with investigating criminal
activity in and around the Capitol grounds on January 6, 2021. As a Special Agent, I am authorized
by law or by a Government agency to engage in or supervise the prevention, detection,
investigation, or prosecution of a violation of Federal criminal laws.

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification were allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint
session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the
House and Senate adjourned to separate chambers to resolve a particular objection. Vice President
Mike Pence was present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

        At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, around 2:00
p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking windows
and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged and
assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.



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        During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

       According to records obtained through a search warrant which was served on AT&T, on
January 6, 2021, in and around the time of the incident, the cellphone associated with (805) 703-
3637 was identified as having utilized a cell site multiple times on January 6, 2021, consistent with
providing service to a geographic area that includes the interior of the United States Capitol
building. After reviewing law enforcement databases, I determined that the number (805) 703-
3637 was associated with Cameron C. Clapp.

       Additionally, the FBI received a tip that Clapp entered the U.S. Capitol building on January
6, 2021. The tip included various media of Clapp on January 6, 2021 inside the U.S. Capitol
building and on the restricted grounds (see, e.g., Figure 1).




                                              Figure 1

       Clapp, an amputee, maintains a publicly accessible Facebook account. On that account,
Clapp posted a graduation photo of himself wearing the same distinctive vest with a prosthetic arm
(Figure 2).




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                                            Figure 2

       I reviewed open-source video featuring Clapp, walking past the Smithsonian’s National
Gallery of Art – East Building in Washington, D.C. on January 6, 2021 and stating that his name
is “Cameron” (Figure 3).




                                            Figure 3

      I identified Clapp on U.S. Capitol Police surveillance footage of the area near the Senate
Wing Door at approximately the 3:34 PM EST breaching the U.S. Capitol building through the
Northwest Door (Figure 4).




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                                           Figure 4

      At approximately 3:36 PM EST, Clapp took photos and/or video in the area near the Senate
Wing Door (Figure 5).




                                           Figure 5




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      At approximately 3:38 PM EST, Clapp exited the U.S. Capitol building through the
Northwest Door (Figure 6).




                                             Figure 6

       I reviewed open-source video featuring Clapp after he exited the U.S. Capitol building.
Standing outside the Senate Wing Door, Clapp can be heard saying: “I made it in but there’s
[pause] nobody’s in, like everyone’s leaving so [pause] I did my part. I’m . . . satisfied” (Figure
7).




                                             Figure 7




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        According to records obtained through a subpoena which was served on Marriott
International, Inc., Clapp stayed at the AC Hotel Marriott Washington, D.C. Convention Center
from January 5, 2021 to January 7, 2021.

        According to records obtained through a subpoena which was served on United Airlines,
Inc., Clapp traveled from San Luis Obispo County Regional Airport to Ronald Reagan Washington
National Airport on December 30, 2020 and traveled from Ronald Reagan Washington National
Airport to San Luis Obispo County Regional Airport on January 10, 2021.

        Based on the foregoing, your affiant submits that there is probable cause to believe that
Clapp violated 18 U.S.C. § 1752(a)(1) and (2), which makes it a crime to (1) knowingly enter or
remain in any restricted building or grounds without lawful authority to do; and (2) knowingly,
and with intent to impede or disrupt the orderly conduct of Government business or official
functions, engage in disorderly or disruptive conduct in, or within such proximity to, any restricted
building or grounds when, or so that, such conduct, in fact, impedes or disrupts the orderly conduct
of Government business or official functions; or attempts or conspires to do so. For purposes of
Section 1752 of Title 18, a “restricted building” includes a posted, cordoned off, or otherwise
restricted area of a building or grounds where the President or other person protected by the Secret
Service, including the Vice President, is or will be temporarily visiting; or any building or grounds
so restricted in conjunction with an event designated as a special event of national significance.

        Your affiant submits there is also probable cause to believe that Clapp violated 40 U.S.C.
§§ 5104(e)(2)(D) and (G), which makes it a crime to willfully and knowingly (D) utter loud,
threatening, or abusive language, or engage in disorderly or disruptive conduct, at any place in the
Grounds or in any of the Capitol Buildings with the intent to impede, disrupt, or disturb the orderly
conduct of a session of Congress or either House of Congress, or the orderly conduct in that
building of a hearing before, or any deliberations of, a committee of Congress or either House of
Congress; and (G) parade, demonstrate, or picket in any of the Capitol Buildings.




Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 31st day of January 2024.


                                                      ___________________________________
                                                      G. MICHAEL HARVEY
                                                      U.S. MAGISTRATE JUDGE




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